                Case 21-30123-lkg        Doc 38      Filed 06/03/22     Page 1 of 2


                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                                 In Proceedings
                                                       under Chapter 13
MATTHEW BRANDON BOHNENSTIEHL,

                                                        Bk. No.: 21-30123
               Debtor.


                              TRUSTEE’S MOTION TO DISMISS

         COMES NOW, RUSSELL C. SIMON, Chapter 13 Trustee, and would respectfully show

this court as follows:

         1.    The instant case was filed on February 25, 2021.

         2.    Debtor’s Second Amended Plan was confirmed on August 19, 2021.

         3.    Said confirmed plan provided for the Debtor to pay the regular on-going mortgage

payments on his home directly to US Bank, NA (“Creditor”) rather than through the Trustee.

         4.    On May 31, 2022, Creditor filed a Motion for Relief alleging that Debtor was

delinquent in his on-going mortgage payments in the amount of $4,978.60, or 5 monthly mortgage

payments.

         5.    Under 11 U.S.C. § 1307(c)(6), a case may be dismissed “for cause,” including a

“material default by the debtor with respect to a term of a confirmed plan.” Based upon the Motion

filed by the Creditor, it appears that the Debtors failed to tender their monthly mortgage payments to

the Creditor, as required by the terms of the confirmed plan. The Trustee asserts that this constitutes

a material default of the confirmed plan warranting dismissal.
                Case 21-30123-lkg        Doc 38      Filed 06/03/22     Page 2 of 2


       WHEREFORE, PREMISES CONSIDERED, the undersigned prays this Honorable Court

for an Order dismissing the instant case, and for all other relief the Court deem just and equitable.



                                                       /s/ Russell C. Simon
                                                       RUSSELL C. SIMON, Trustee
                                                       Chapter 13 Trustee
                                                       33 Bronze Pointe, Suite 110
                                                       Swansea, IL. 62226
                                                       Telephone: (618) 277-0086
                                                       Telecopier: (618) 234-0124




                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the above Motion to Dismiss has been served upon
the Debtor, Debtor’s counsel, and all parties in interest, as listed on the Court’s mailing matrix, via
facsimile, electronic mail, or first class mail, postage pre-paid, on this 3rd day of June, 2022.


Matthew Bohnenstiehl
607 W Washington St
OFallon, IL 62269

JD Graham
1 Eagle Center, Ste 3A
OFallon, IL 62269



                                            /s/Carman W
